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     21-10845-mdc
       21-10845-amcClaim
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     21-10845-mdc
       21-10845-amcClaim
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     21-10845-mdc
       21-10845-amcClaim
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     21-10845-mdc
       21-10845-amcClaim
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       21-10845-amcClaim
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     21-10845-mdc
       21-10845-amcClaim
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       21-10845-amcClaim
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       21-10845-amcClaim
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       21-10845-amcClaim
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     21-10845-mdc
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     21-10845-mdc
       21-10845-amcClaim
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     21-10845-mdc
       21-10845-amcClaim
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     21-10845-mdc
       21-10845-amcClaim
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     21-10845-mdc
       21-10845-amcClaim
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     21-10845-mdc
       21-10845-amcClaim
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